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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA
Vv. Case No. 20-mj-114
WILLIE JOHNSON,

Defendant.

 

COMPLAINT FOR VIOLATIONS OF
TITLE 18, UNITED STATES CODE, SECTION 844(i)

 

BEFORE United States Magistrate Judge United States District Court
Stephen L. Crocker 120 North Henry Street
Madison, Wisconsin 53703
The undersigned complainant being duly sworn states:
COUNT 1
On or about August 25, 2020, in the Western District of Wisconsin, the defendant,
WILLIE JOHNSON,

maliciously attempted to damage and destroy, by means of fire, BUSINESS A, a
commercial building in Madison, Wisconsin, which was used in interstate and foreign

commerce.

(In violation of Title 18, United States Code, Section 844(i)).

 
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COUNT 2
On or about August 25, 2020, in the Western District of Wisconsin, the defendant,
WILLIE JOHNSON,
maliciously attempted to damage and destroy, by means of fire, BUSINESS B, a
commercial building in Madison, Wisconsin, which was used in interstate and foreign
commerce,

(In violation of Title 18, United States Code, Section 844(i)).

 

This complaint is based on the attached affidavit of

 

Special Agent, Bureau of Alcohol,
Tobacco, Firearms and Explosives

Sworn to me telephonically this L? day of September 2020,

wa

HONORABLE STEPHEN L, CROCKER
United States Magistrate Judge

 
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COUNTY OF DANE
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STATE OF WISCONSIN

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first being duly sworn under oath, hereby depose and
state as follows:

1. Tam a Special Agent of the United States Justice Department, Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF), currently assigned to the Madison

Field Office, I have been so employed sinc Tama graduate of the Federal

 

Law Enforcement Training Center Criminal Investigator Training Program, the ATF

Special Agent Basic Training, and have received extensive training

 

Prior to my employment with the ATF, I

 

 

2, The facts contained in this affidavit are known through my personal

knowledge, training, and experience, and through information provided to me by other
law enforcement officers, who have provided information to me during the course of
their official duties and whom I consider truthful and reliable. ‘This affidavit does not
contain every fact I know about this investigation, but merely is intended to show
probable cause that Anessa Fierro committed violations of Title 18, United States Code,
Section 844 (i).

3. On August 25, 2020, a citizen complainant (hereinafter “confidential

source” or “CS”) advised me that he/she witnessed two or three males walking

 

 
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together near the corner of N. Hamilton Street and N. Pinckney Street in Madison,
Wisconsin on August 25, 2020 at approximately 12:30 am. One of the males carried a
red container consistent with a five gallon gasoline container. The CS saw these
individuals stop in front of the YWCA, located at 101 E. Mifflin Street, Madison,
Wisconsin. Several minutes later, a female wearing a red or pink sports bra and gray
shorts came out of the YWCA. The males and female walked north towards N. Webster
Street.

4, YWCA surveillance video, provided to law enforcement pursuant to a
Grand Jury subpoena, corroborates the CS’s statement. I reviewed this video and saw
three individuals matching the CS’s description standing outside of the YWCA at 11:25
pm on August 24, 2020. The female (Subject #1) wore a pink sports bra, gray shorts,
and had tattoos on her chest and left wrist. One of the males (Subject #2) wore dark
pants, a dark head wrap, no shirt, and appeared to have tattoos on the right side of his

chest and right shoulder. Below are screenshots from the YWCA’s surveillance video:

 

Figure 1 — Individuals standing outside af the YWCA. The red box highlights Subject #2’s tattoos.

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Figure 2 ~ Individuals outside of the YWCA, The red bex highlights Subject #1’s tattea.

       

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Figure 3 — individuals outside of the YWCA. The red boxes highlight Subject

ey

#1’s tattoos.

 
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Figure 4- A close-up view of Subject #1’s tattoos.

5. On August 25, 2020, at approximately 12:25 am, YWCA surveillance
cameras again captured Subject #1 and Subject #2 outside of the YWCA. This time,
another female wearing black and white pants (Subject #3) joined the couple holding
what appears to be a cellphone in her left hand. Subject #2 also carried a red gasoline
container and a broken wooden bat. Additional tattoos can be seen on Subject #2’s left

shoulder and possibly his left forearm.

 

 
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Figure 5 — Subject #1 outside of the YWCA.

   

 

 
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Figure 7 —Subject #2 and Subject #3 standing outside of the YWCA, with Subject #2 displaying a broken bat.

6, On August 25, 2020, at approximately 12:35 am, rioters attempted to burn
an office building (Business A) located in Madison, Wisconsin. Surveillance video from
Business A shows that an unknown subject used a skateboard to break Business A’s
glass windows and doors, Below are screenshots from the surveillance video law

enforcement received from Business A:

 

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7, Within minutes, several other individuals, including a shirtless male
wearing dark pants and a dark head wrap, approached Business A and used what
appeared to be sticks, rocks, and other objects to break the front entryway glass. The

shirtless male matched the physical description of Subject #2.

   

Figure 9 - Additional individuals breaking glass windaws in Business A’s front entryway.

8. At approximately 12:38 am, a female in a pink sports bra, gray shorts and
flip flops walked up to Business A’s entryway holding a red gasoline container. The
female matched the physical description of Subject #1. She directed individuals away
from the broken windows and poured liquid from the red gasoline container directly on

the building.

 
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Figure 11 ~— Subject #1 pouring liquid on Building A’s front entryway.

 
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9, After Subject #1 poured the liquid, Subject #2 and another person ignited

the vapors using an open flame.! Subject #1 watched from a short distance away.

   
   

Figure 12 — Subject #2 and another person igniting the vapors with Subject #1 watching from behind.

Figure 13 — The vapors on Building A’s front entryway igniting.

 

1In order for a fire to occur there are several points to consider, specifically the presence of heat, fuel,
oxygen, and the uninterrupted chain reactions, which bring these factors together. In this case, Subject
#1, is seen pouring a liquid (fuel) from a red gasoline container on the front of the building. Subject #2
and an unidentified individual are seen lighting a substance on fire (heat) and adding that heat source to
the flammable vapors, which are produced by the liquid. Based on my training and experience, the
ignition of the flammable vapors is consistent with a flammable liquid (gasoline) pool fire.

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10, Subject #1 walked away holding the gasoline container as flames engulfed

Business A’s entryway.

 

Figure 14 — Subject #1 walking away holding the gasoline container.

11. On August 25, 2020, at approximately 12:49 am, a surveillance camera
from a retail store (Business B) recorded Subject #1 breaking windows and pouring a
liquid into its store located in Madison, Wisconsin. Specifically, Subject #1 struck the
front door window and poured a liquid from the gasoline container into the building,
into the window casings, and along the northwest side of the building. It should also be
noted that seven residential apartments were located directly above Business B, three of
which were physically occupied at the time of the attempted arson.

12. Subject #1 tried to ignite the vapors but stopped when officers from the
Madison Police Department (MPD) arrived on scene. Subject #1 then fled the area. If
Subject #1 had successfully ignited the vapors from the liquid she poured into Business
B, the resulting fire would have damaged the building and endangered the lives and

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safety of the people living in the apartments. Below are screenshots from surveillance

video law enforcement received from Business B:

 

   

Figure 16 — Subject #1 pouring liquid inside of Business B.

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Figure 17 ~ Subject #1 attempting to light the vapors inside Business B.

13. An MPD surveillance camera located directly outside of Business B also
captured the attempted arson.? This video shows that Subject #2 used broken pieces of
wood to point at Business B and strike its windows. Below are screenshots from this

MPD surveillance video:

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Figure 18 — Subject #2 using sticks to point ot Business B.

 

2The date/time stamp on Business B’s surveillance video is approximately 10 minutes faster than the
date/time stamp on surveillance video received from MPD.

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14. Subject #1 crossed the street and approached Business B with the gasoline

container as Subject #3 watched from the street.

  
   

 

Figure 19 — Subject #3 watching as Subject #1 approached Business 8 carrying a gasoline container.

Figure 20 — Subject #1 and Subject #2 outside of Business B.

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Figure 21 — Subject #2 attempting to ignite the vapors inside Business B.

   

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Figure 22 ~ Subject #1 attempting to ignite the vapors inside Business 8.

15. Representatives from Business A and Business B confirmed each business
regularly conducts business with vendors located outside of Wisconsin.

16. The CS reported that in the early morning hours of August 25, 2020,
he/she saw Subject #1 and Subject #2 return to the YWCA, as Subject #2 carried a red

gasoline container. Subject #1 and Subject #2 walked away from the YWCA for about

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five minutes and returned without the red gasoline container, Subject #1 and Subject #2
then walked into the YWCA. The CS provided me with a picture he/she took of Subject

#1 and Subject #2 after they returned to the YWCA at approximately 1:00 am.

  

Figure 23 — Subject #1 and Subject #2 walking outside of the YWCA.

17, Surveillance video from the YWCA confirms that Subject #1, Subject #2,
and Subject #3 returned to the YWCA at approximately 1:05 am. All three people took
the elevators to the 5th floor and entered a residential room at approximately 1:10 am.
At 1:35 am, they left the 5th floor room. This time, however, two people wore different
clothes: Subject #1 changed into an orange shirt and black shorts; and, Subject #3 wore
dark tights and a Mickey Mouse shirt. Below are selected screenshots from this portion

of the YWCA’s surveillance video:

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Figures 25 ~Subject #2 exiting a Sth floor elevator after returning to the YWCA,

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ith Floor Elevator

 

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Figure 28 — Subject #1 and Subject #2 leaving the 5th floor after Subject #1 changed her clothes.

 

18.  Atapproximately 2:20 am on August 25, 2020, Subject #1 returned to the
YWCA and used a key to enter a residential room on the 2nd floor.

19. Approximately one hour later, Subject #2 returned to the YWCA and
briefly visited the 5th floor room (as described in paragraph 17). Subject #2 left the
room after three minutes, took the elevator to the 2nd floor, and walked into the room
Subject #1 entered earlier (as described in paragraph 18).

20, On August 26, 2020

   
  

| interviewed an employee at the YWCA
(Employee #1). Employee #1 reviewed a screenshot from Business A’s surveillance

video showing Subject #1 committing the attempted arson. Employee #1 identified

 

   

Subject #1 as
21. jinterviewed
eviewed surveillance video screenshots from the attempted

 

on August 28, 2020

arson and acknowledged that she closely resembled Subject #1; however,

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_that did not appear on

 
  

Subject #1. I looked a ttoos and confirmed they did not match Subject #1’s

tattoos.

 

22. 4 then identified Subject #1 as Anessa Fierro and Subject #2 as Will

new Fierro and Johnson because

 

Johnson, Fierro’s boyfriend.

  
 
 
   

 

also told us that Fierro wore a pink sports

emembered Fierro’s attire

 

bra and gray shorts on the night of the civil unrest.
because
23. interviewed multiple YWCA employees during the
course of the investigation, which included a second interview of Employee #1 (see
paragraph 20). Each employee reviewed surveillance video screenshots of Subject #1,

Subject #2, and Subject #3. Several employees provided the following information:

This time, however,

 

a. Employee #1 again identified Subject #1 as

 

Employee #1 said Subject #1 “could be the resident of room

Employee #1 positively identified Subject #3 as

 

resident of room

 

b. Employee #2 also identified Subject #3 a

 

c, Employee #3 remembered seeing Subject #1 wear the pink sports bra on

August 24, 2020 and thought she lived on the 2nd floor. Employee #3

 

recognized Subject #3 as

d. Employee #4 identified Subject #1 and Subject #2 as “Anessa and Will.”

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e, Employee #5 identified Subject #1 as Fierro from room 210 and Subject #3

 
 

24. reviewed historical booking photographs of Fierro and

Johnson. Johnson's 2004 booking photograph did not show all of his tattoos; however,

 

aw at least one tattoo on Johnson that resembled a tattoo on Subject
#2. Fierro’s photographs, which are dated May 12, 2019, show tattoos on the left side of
her chest and on the inside of her left wrist. Fierro’s tattoos are consistent with Subject
#1’s tattoos as shown above in Figures 2, 3, and 4 (see pages 3-4), Below are Fierro’s

May 2019 booking photographs:

Figure 28 — Fierra’s May 2019 booking photograph.

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Figure 29 — Fierro displaying the tattoo on the left side of her chest.

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Figure 30 - Fierro displaying the tattoo on the inside of her left wrist.

25. AnMPD incident report from 2020 and records from a Dane County
Circuit Court case show Fierro and Johnson were in a relationship.
a. A 2015 family court case (2015FA002269) listed both Fierro and Johnson as
respondents, Notes in CCAP read, “Paternity Acknowledgment
Judgment. Joint custody - no placement order as parties reside together;
child support held open; father to pay birth expenses monthly beginning
1/1/16.”

b, On May 27, 2020, MPD responded to a fight a

 
 

Madison, Wisconsin (MPD case number
course of their investigation, officers learned that Fierro “and her

boyfriend” Johnson tried to break up the fight.

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26. On September 23, 2020, law enforcement officers executed a federal search
warrant for Johnson’s person. This search warrant authorized law enforcement to
photograph any tattoos or distinguishing marks on Johnson’s upper body, During this
search, officers confirmed Johnson has tattoos on both of his shoulders, his left forearm,
and the right side of his chest that are consistent with the tattoos on Subject #2 as shown
above in Figures 1, 7, and 26 (see pages 2, 6, 17).

27. Based on the foregoing facts, I believe there is probable cause that Willie
Johnson committed violations of Title 18, United States Code, Section 844(i), as

described in the attached criminal complaint.

 

 

u of Alcohol,
Tobacco, Firearms and Explosives

Sworn to hal this 2-2 Any of September 2020.
—

Honorable Stephen L. Crocker
' United States Magistrate Judge

 

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